Case 01-01139-AMC Doc17153 Filed 10/25/07 Page 1of3

NOD af] JO 4977)

rayeq]

HNO SH) FO TaTATO AAMYLATY INGA LOUIS [RUC 2] FR PAPE GNS 99 T]TA AUASLOR] any] Yn ary Aq paisa Apap) sp wcasige ou JT
‘AOTLOU STEP JO STUPROT ATL JO SAEp (OT) ATA] CNTEITA TINO SO) PLEA PAYL] AQ SMI On ahgE) LATS] Ay) TO AOTALAS $0 POD FEL JO Sotjja
S323] SUG TH PATH, Wag, sry APLINSAG JOT WRAL AAT MATS) JO SISTA, TO SA OR] SIE OU] PASI 81 DAOC NE DALE EE LUT Jo Aoutsitend an,

“WHISNVUE OL LIAO OL ANTIIVAd~

RES 3 051 BR ys Be cpg 20 seat oo og fn eng peeteensiadeeer a0 gag pgs op dn yo any aeaneapape anata Beye gay Aaa
qusiy 9 SSTaTSOt | TAS ORY

é00c “se taqayag RT THC OAR Lag Sy TAQ

{yaya PE ospapwowny Ajo jsaq
DU] O] JOBMOI PINE SILI] ST AdTLOU SITY UL papracad toyenutagud au] pet) Aanfied yo Aouad zapun apap |

Bal Typ 14 0 STS] ILO] 1StT
RylT sO]

{SAOGE WIC WAI 1) Was ag pneys
aquatuded sosa]STIET] SISA SSQIPPY PU ATuEKL

ei LP [0 STI] NOY SET Fu ye ey JO S]FRTQ INOY TT
MONT | StOP L946 ele Od
1Z8T6 ¥O ‘Bug
WANS BIGUNOD CET
HPSS A CIUGSLAL
thos Fuseuaog onepaAy OF Fooot AN cee ang
SILA A] ID TAA O18
HOI SeT [JO ssaIppy Put ATE RT V7 Tedep aoqangy reg
:PoEL Wel ae]
PR LEST SMTeTD Jo TUMOUny Hllas 3] PyMarys
Sor HE “CuMOY IT) 2 ONES Emo SATAPRUAT 0] SPOT DIST SSIPp yy PU STUN]
110 saan ApNeApATT DS Fo aaaarsse sy
dio>y dowsanay aqyReIpApy 49 OTT Tede; 10g.1e 9 ang
STH SURLT, JO STU Ry MASUG, FO SEAL

“SITIOU PUE AolAPl As SI1]) WN PADLataped cue] A
aT) JO “ALMNAIS JO; GEL] TAO “Taystieuy aly JO “YT a y pay *(Z(2)] ODE 3M O} yuUNsInd aayoU pur aauapiAa
Saale Agqauay aaraysueyy, LETTE § ‘O'S TT Japen payy pawaap io agyO SIH, NI OAT NAAT SVE WIV ¥

ALIANOSS GOA M¥AL USHLO APY TO dO Has Pe, AO SL DON

(GET 10-10 ON 98825 Jopan pasoysturupy
AWOTOL) Te 19 GETLO-TO ‘ON 2805 OPE 9 “OD DW 9IID WA 191 TT
AIMEP JO JOIST
janoy Adjpdnayued sajuys pay
fo) FOE thay
~ Case 01-01139-AMC Doc 17153 Filed 10/25/07 ‘Page 2 of 3

ZJo | ate]

SOUSA Oy HOG WAP BLS MLA Saye IO reps acca
PUT Tee) A PATA tb ATR Ag permed SeperGM {[n macy oy Tad ADU PACT |]TS dotaicssy LOA ACD Cy Pe Sang AAU Pie apAT
Andacgimg at go ¢ caadeny sapem asna to PAITSALIOS In PASEITEER 81 ase ASedrerspaeg § TORRE] AL VET LOS AN) WT ‘FEEL av papeysT SouTiprsy

So gag] Sty Aq Cranage Aun of fqn jou St pte Motte LAY ay) PAvenTpE aig STALE TET.) ALN ATHY] CARI SR TRIES & acmastae

Trodth IOMmHERy or waanTdne Yan THITAL [|MYR SAUTISEY “BANE POY TSA OU WILE] aA Al] Pasa Of TORE CORRAL) PHD CTS fed AFA rad seus

QL FE MEET) ATMA pO ATE TH] Suny “Asters oy saat AQAuayy TaMssyy ees ules SOAS TE PLE AAWTIER AY Oy TARO) Potaap Acqucy su one
‘UP PASEYSuT JUAGLEA AER] fo REaaKA MIT WERETCHLLITD COE A] Pistvcayge AY AYIMLLI TI FROME] FAUT MID AWD ADTRAN [Srp (PINE fj NRA Se atest aT gy
DAMIEN “BIRO frur any pao] ap LeLisdas TIDN]SUr sass Pan “SFO [pn aay AAUTISEY IRINGUIRD OL RATT Satan] JOT prey “Ap Iall $1 LAU Rar (pang
SHER any] 1amarege merece sey SIU JG SUPT OU) Cnty powsae sep aay prec wen ote acy wo WUE aad a0] PaWaorad way po ayer ney it TSEURTLET CED LAG STI] EuECY
TUCO LUPE) yd UTS GLEN F988q] TOI AMPS ayy Ue Past] 34 “payndsyp to juaiu ities “prmprabrpn av OPNPA PIR AGL Coe Pasty 70 ‘apApAypIS

FAL INE PARSE TAMEN Br UerRETY ST PP eo 'gaech way roe apertya. 1) TAAORIEE AL LOSRST ALT If PRCIRGMN 38] ASLO A PAA PAO PLO ns ‘PaMoRMsip

SPRUE BL TY marED Att oy alt HARTI VOTE ap) fo wander pun WOATASAI JeLcoaodoud apetpaea SAMIR YF OD ATIC OW SETA JoUT ISS

“TOPE FO TARE SECyd OT] Jetta OY IOISI ap Pre RIRATEMT TAA su

APPLE YSHAMpAs HOLY Hyp TE PLOT any] FO Sa]Ly OTT) THO] AT EERAT MONTILAOU! APT Sut) area deudda pausap sry ATTISS YS BP CORNIEEICY IEE CEOTIS CFG plas
Dnt “Sarr Rey U0 AOTTEE EM [NOLL pn A]Toptead apa seqg wi Tay) PU LEN] a1} FO apER Sup Tiparar LptsraaD PATUIe sy UT ais oy SHMrpasnas.y ati

JO STAIR ALT BLE FONG aT JO WENT EPCs PAIOUTUIIT POT SBACNISELE ry TUPIRAeOD COMMIIIATHY atetbape sy Leahy) snAsaldar TOUM as y TUTETD BIT AO ropqaeT
AYA SHEAR, AL OF ALTE EA JAE Ja [LO Mar 30 fas Laie 10 PR ereRT) LO eC po Mon pM any] SHLUT AOU SU] MO Sys SIE FRAP IR Ta south ae
OP Mags etpay Udy pagar Atte opel snip saws po SALLI JO quarto Ande sc UTE solr AULT RY STL ton play dae se ilanxe

“TIE Sati papaauyat Ey “CMMCUMRECESELTA pO Titec BUMWEoa vapae pew TO Aa] Ira | TMI PAITSTAp AMOR gH aq on ATL HIRO years TELA

Fue ONE AT OL Fedaan tv stinpansory ay U PASIp Ayana yo innTE AOA ttheay Lapp p Atlee ATLL AMAA ALOUPA FY] LNT] LEAVE ST OLITIEG GS

SHILOH (ane [AaTOS oy AAMAS Ag PALTNALtt Saqy ABLAOTE PON SIR pit decd op RAAT depen outs «ume

JAPO 2) O} BPWS Jc MALTESE TALES Y ans TO MNGATT To ant Ry aq PRUAYTNE SARMUED PAEpIebEY Re MONIT IEA YL Jo fagee ltsauae SATPAUl Ly
TERGHIDDE Ut OF peTiba uname we syd coud iss on aSLTay Aq PAT SMNGLUE {ph ANTES OT SRIMGUUTAL ALTAR pNP AGMA Seay ayy iracpa "pes
TIHECMEFIES TE JSUT OAS FOOT ae AREA 3 AGA Bt Ea p ITED Tf Od Janda ITS Met gunsip PAteo]|T WY aA AAT POU Sap OOCFISA YY PULA WIT
SUT) CELA UOTE TT FO Tel COOMA RTEES [ranma 30 ypmy cer sMAral HOMES [OFA e aATSDA | RUT IO ptatadar syn 1nd SEU AU Oy LIT

aU Alas 40 UF|s88 Saqp 49 ppos ac paerstsin seq Aud pry AU sa CATED) PAY IPTTAS roeaMienS EH YO YO mMTIaRTSIMs pmpNEEL Ae TT uy atded saga Sue
AAA] RAOp SO smo AL ame Aut a wey a1) [FB IO TES80 S2NP 10 PyOS 10 Poutsse BEY ACAI SS II praaA O11 ti py] sass Aquuny aowaigey

TAN]TeA AY] ttriclcany cH tee ces) ACH Be eee

al} aatipay oy Aved sarge Aue on roagag pa Jpeyag te ag AQ POMASEE ag Arte LO Taq ART EI PANU yume FEN UAay aad to sasiiagap an apg)

OU AIP FTI 107d TG SAAS seus snyoe wo py Aire fo SAAUTUINAN 19 Spsataa] ALUMAAS “Rr [IM ATT? AL gO au COTE) RT OL SLE SER] POM sceset
Sores We “ued up so opopn a Aye TI) Aue ore arg pea pore op Pas "prmasissr Apso” jaw shy LOUTESS LEM “UIT Ey aU TO (rOLanyaTies
(eae ao (NE OM sSy Cnc ule <I THI AGH Ar, 10 “AoUmIssy Aq Paniagar Wag sey waULeed a1 TRH Aiea PU Sissy 1217.60]
IehSsRy “PIAnTSTITE BLteeOTAnT Aled oy paalqns you BY ULI | OTL SRIOU PACS BPMNTARIIT LE. LENT] UTENOM gta FQ RLOnt] $35] Mb SMCS p LO SeoraaAinl
BAO ApALECrOtuclont cep a) fo joadsar uw] Marana SMUUSTETRTE UT ApeMseat [erat ceed poy] SUOUSSITECG WO FHT MIT “BISE ALee co PAN [OLE RIL AAAS TATE
S10 YLRA GATE AT) AO {EO CeolaTySRS [eel ao T9g uy Sour aey yo greqae cee Quad pony Aut Aq so Outs Aq DaAlanay WRAL] RCE IPOS pe TALE
PG testa an {S0e2] 811 ITA aOLtEpEOAT Uy JOC RS Ty patttRRe apquamudgia Geusismy FO MAMTA AMIN L PLE ETT "POPLA aupL REUNTTNSIOS paATIADIe ye
SI) MIAME ERY BTL) Counysed Blt JoAraD Saytaeya oy Tene Tat Jamad ausinbar aay sy sauder y PUR AIDITLaSy A] PRAM Ap PUA Palmas
“‘pAeMOLINE ATP wang say MaTUONEEy stp ‘OUTER Aq iutsuranaty Sip fo Aaunirnprod ple LAAT 'VOCMMTANT At ‘IATA MOTITINGS 1] SETRANIO
eC COR ptiag 7 at pauinhar sy Moran sANO Bo hepsractund ‘aapagddioa 20 Tn ipT “yeanade yunatcon oT SNA] GP WSMNEET CTE YS pqMaueyTry “pepe,

TR AC) AT Spay ae aopAyaS, | aA SHIMEUPIE AO pre RATT TO AMPS BY We JOSE] alt Ay PTET] Sh PMA SIBPRA WHER] STE ON Monae
CW Pa PUT DEAE SE TATICWIITE LETH CCE MOTELS) Atyy TET PALES TS UTE 885) YOU AD More, atp fe aemouTe MUD TTECY SACTELLEGY SS THIET MPSaRTOADE SARIN] SCIUNTLSRy

‘WHAT aiyL pt spanagT
“UTE CAD ULB. fo JOOTF tans po TAL BT T]ARIT Aemap] OF PAPA Ag [pM PLE SAT FEEL [0 BULA aly
Wealgns WIRED I FIO pep fo UattALo Alp paltaap aq ssararumAaU TES SUG set “AAO gT Yap Tas Tune ceri
AL UIE] RTS LP PECTIC PO PICT AY AT CMALITMT Sy SEE OT pACpOMILE St MEE FO poe. Ee po Adios
O71 FE) SAL paaseug arr Ur pay Apa, pu Apap Used SE PH TESTE JO LCE OIteM any] Uy CN po pe ye

CHENEY SPIE 4A BLT? SIA SUGA JOUER

Gea!) Aunqas 8 ait 07 PAWIESp A JOU [PPYE BL consAEOA FO ashrbtne SPT AEE WITS) TT TO JUANES B [MAAC CPLTOICEEA PME ay] RAE Lt Prinaap

Bl [|S WAT sen ATLL BUT anon UAL 18 Fe Mepcpagy Ag sotdney 01 [va STOTT TE BSC) S71] SLL, TONE | 7} ELE [CO ARP Stats nn LOE Ary

Aq Tangs! so ped aq deur Yate AQiadord Targa puts sues ‘SOTULTIE “YSN [YH Pe SAA toy SUE ZO Ace 1 RMN EAA Ao Lape *INOay SHShe Sa yportag

PUT STS Jai Pore FLNA YL dee pred PUP 21.0 30 ICGMFETE Aue SROINTTL ETE S71 “ropdagy Aly Su AB Trofe pO SasneA “SUNNTTE[ SF AGHL]ECS [TE PLT

TUT YL adsl IL pred aq feu ors “Aten Ta lsaay pain san Reiad REA] BUTE TLC) SU OI Pega SST] Jo SRO! Zo esa Ane yo uolidtimesn

AW] FO TUTOR OO salad oF PaLTNEeA aq ABW at wey smauicted auna « “ERE! [EP MALSoMU oy By S,TOWTISS YY PE AAOTAGj PAWIECApY AUR EMTALA FO JOR gy

SUP MORE] NOUN AMPH rel AY] OL Fulpeyor Towa sey JO Syyatag pire SIAL [|r Put “PRT ES TS CHE Reap OM ro moet FhrppHEySANG Aqurauana

ST GETTO-T “ON ARN APTI PasASItUTpY <ptUOL) “cet tO-14 “ON ASD “(C,LNOD,, A} aABAUMLA fo LYSE ane Andnzyong sms

HAO Ty Dh Ck ( SHMpasac ee, AYN) HOW TRMETIOA Lop siupennord Ul SQocE Ctopay.) 0 RF ATA HE TRC (LUE D,, AL) LEO TAS Ay esipl dads

AMAL SE UTES Pe SCAMS ITT] S ALL OP PCE MD SST Beet THCY TUSu scondiey ee TAR AN “HOA nay SEZ ong ‘SAMA an] |
TMMSAY S29 We Ssouppet we Any “( AaULSTY,, } ATE St TT TY AY HOS eVET Wey O sazsony Aqoray sap “,29U,f aseqoung,, 21

JO THNS SOY TO UOT RMOS Mi “COUT SS) ZR EG SE) agg fle PEMINTOD ETE Te sBeuppt Anrpa tf oraey rosy Hunan THM Rayer yay

WET) 40 TNA Ee
Case 01-01139-AMC Doc17153 Filed 10/25/07 Page 3of 3

Eso 7 any

GE ETO 10 S59 yA

ITP ymedng soquepy tty - Feely sepaay

Wh 2

et ee ee

LE

ag amoyetaye : “MEL AM FULL -- f fosupeees} | ---

—— Sahay) er
recy hay AMAax INT) me ATLA TE AS

"Lite * 457 my qo ra GT SRY PUY Sy Sas OPLMasay LOUTTERTY PALS ABU AU POSTE, SSAIMLAY BIL

“AGUS MFO (9 [OO s[thy op ens soe aasegy oy TYAS a] Cy) PUM opaamy eos po Ace

PREU OF ETT S11 {2} Saniem, Aqagay poe WEL) ar TAM AIUD CEE CPE) 93 SHU OCH FO || 0] SIUASLOS PE SATPAPAGINY AH Aqaraly LOUTISe%y “CNM

JO MUO T sy sty Batunitas ATPQMI| Lo ONE Ga tun pre Fy Fo APO ans asafss Sacre Pet aCe EER YS EfATaty AAELDIp TOC YE CURSENET AUT SAR IPA
Jo 1o0ftsey 0] yong UtteyS ay] suapsiien aaulissy jana SUR TG ‘el T eet MH J (2) TONE a1 OF eETIETE LenAaaap aOR TA pu ape s,saUFisayy

Ty VERE REET 101d A AST Sp Ji IOMetes yO ARG TUTE.) AU faery ApManhasqns Rw ‘unde apos STEIN “ABIL ETE Ltemey—p ANY) Wed AOE Ep ATID
y] Sairopsadd asutaay OPN WR On] OL faadsas cea Ld TMT AF ELON Aauinrqungy J SAT PPA A FO C2) Tagg TRE ae meinen JATAURLE JO
SUTTOIE Bay) OP assy sequorime Ageuny JOUSTIRS YY “UNTED 7O TUsUIUTsey sth oT Ane STNEUGIS PHITISAED EM Jo sassy oy Gasiap s 1oMsey fad

MGATVAM Clay .LNTSNOO ITAIWM ONV LNASNOo

‘Aone

Aq [EUL# PERL o, riper All SPATE Taunissy AABUTLAY WoOtSE Are TRE Pact: “TERT Sy 4 TOMS SIC[D GEN IIIf 128 SHAUN PHE AMY 2 IOeass yr Of ssonoed
DIRS Oo Ada ti irrpmt Aq soushasy trod aq Arur ssaacud JO DS TARES TELL ST PATI RHC 30 1I1OR [ars Aq wey dad HOHApS nT poocosdadl gape
PUR AAWEStina LOrT sy pln “ECO A MADhY PO ATES ALD AT pALPAG] LNG. PIPE TO Sea ACEI] UTA ag ACT MES Jo TUTTE Sn] TNA

JO pit Scere woe Ay yon apy [o alms SUF IO RAVE] HYD LEM SOC PLO 0 POMLTISLS THe Aq Pawan aq WTPUpS Lag ped LEDERER ye eee,

ZABL

‘wiawaaatio ATI Fe

AGG CT] THALLAAP sq |e Qiang aye] Spnclapines UStS | fF PTE AL Layrnos Ul Pawioass aq AVTee Greys po WCLAENNSENS SF STL DL “VISRICCETERE TSU rane
Atce parte euttty pate HRMS STI] FO CA Ap BITE TCO] Tagore ALP AMUN [PONE TARA APTI SAULT, Ud TRAN | | yO LAA
SUA GH PEN ny BRITS ce IRANI Pat Opn HET |p pe, cera “WUIBED ay UES ALTE Aur ie one sats ae SoRpapaounys Agcy JOY

"RUAISRE PUN SuosRagons aanaadsar
TAth PuR ASNT seyy aocdEsTy fq |pyRASIOTMA Ag PUB JO iacaq arp ol Aha | [BITS putt “nedn TuIpUiG aq BS MTEL OD MENTE IY] $0 SMa; DT,

- - Sn ee, . - "SAS aap

PAZ|PIN ry [POYS LMT) IO JOC] FUL LD SEALY FE SEE SEA TAMIL WE PAY] Daag Sy Wey PO Joe # sayin sasodind MOUNQLIBTE May Radapipel soon aT |W
20) PENS CIEE J ITA AY] Lid PaAIMENY Stapp ayy FEMCLA]LO TALENT] §y BATITISS YY SAAT “HRD Baal ATL OY PATaap AEN enomE
AQ] [TELS AMES pore "WINODAB Yee 5, aa sey Wy pansocap TE [PRY OES YAN OF AYE etn APR £8) TTHAATE OPE P3feTeTYSH TEEN LYST fF Ata plas

{DIS Aatrapsoy uy ‘(Dayo [ans jo asienas Jaye sainp (ag) AauIU manpag Je ote HUIBISSY 01 Panssy yaya (OEMS! At ATDNOAAL OD RTI AOUTISSY TL

‘RAUTTTSS YY Oy Cradord yang sayRimse oO Almssanay SIUTODP 1 STL pire

AUT Yuea Jar aoy ‘paatasar Woy aus aug ut dyadaud (ons Aur Aan OY IAAL] Sp (RAcp sesame ¢ MIREE JAdAe orn 1g) Apdaunsd ‘aeuadys

Ud 81 18 “PAA PUT pT] 1] AL Tadord yams POU, [LA LOCI NEED pLCE “na oI PORE tn ROU BETS AL OF aAdaisey po Apadanl SITS [PRY
‘Abtadcud race acce ao uALTharscy “RATINGS YSES TO MOT ay) 01 ayy “WIRES AID JO aoa mo LODT Ese Ag PALA THONGS TPE Are WT sain
ALIN JOUA REY “ysanbieu aN GL AMAT, THOT) ABLE ATIEST ott ‘AREpDAAOTT ANP WA LUTE) ATT OL eadsag I UOT aro CPMERGS VATED] TALE “LIT "y Atyy apo
A PUB TEAATAL PAMUATARR ETE) ty o7 yaedisca upc ALM TAIL Ate Ue pertncy Btpe Una MTOIE pacar SnahON Y/N ASB sey a] POY oy saad OUTS

SWISS PH SOOTY ORT apt oa

‘Srasnd JA1St0EN] aITdondde Jo LonNDaNe on, WATE] THO GAs “SUIPMSL! SoU Ay tite; a1 Jo utnnang ve SLIOLIMNCEATSIP JO syuatitdedd an pun
WATERS) EW) PO WWAMIWECREE ANY 13Ag)F TIER p ro reaeasai ag Apne se lagnadca aac 1) 28 “UOTE IAP. Yans ay OE SAUTE AGUAS BATA,
YL UP IO JO ATA SEL all Puajap so aod 7 DPV: AU SOFTEE OP CeO pepe OT ANY 4 [ALPS eae “Loni Ans RAMA [eo Fuad Tans
PRPOETNS O] ATE If SRL Ts APM FUT AS TEU [UE ANAL 1 AIMTIOIALI SIP OF (eT sip, Ag PSHIBIG sraavce TAL LENT SATE OLAS FEL
JO Weslatetesy s1yy op mmeTsindl Jap aT Ayia SH pM TIES S17) ATCT oq Cenpsanalt sang 1e OP OL Arne pT] aaa OTN SUeFT MOLES
“PATIAISET CATAL UNELS) Alp) JO JLMOSAR HG to JOP ofqnded pur A hp “AME sag TAA ALL 0 62.4 ADU St STUNAUIT {ons [eB JaACoAr puE aR
“I0} ANS "PALE oO] PeDES SION EER LIL gat Oy SARI FAUOTING POE AALLIOTE POZA] PLE ANT] RY STE CEPI STUNPOKEC APM an AAI Adyatal] JouAyssys
